Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 1 of 7 Page|D #: 1

AO 91 (Rev. ll/ll) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the

Southern District of Indiana

 

 

 

United States of America )
v. )
) Case No.

) 1:18-mj-258
RYAN THoMAs §
)

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 5, 2018 in the county of MaFiOn in the
Southern District of Indiana , the defendant(s) violated:
Code Section O/jfense Description

18 U.S.C. § 922(9)(1)
Felon in possession of a firearm

This criminal complaint is based on these facts:

El Continued on the attached sheet.

,@LAM

Complainant ’s signature

V\h||iam Birkofer, Specia| Agent, HS|

 

Printed name and title
Sworn to before me and signed in my presence

Date¢ 03/19/2018 W%W(,_

Judge ’s signa$re `

City and State; Indianapo|is, IN Debra N|cVicker Lynchl U.S. Magistrate Judge

 

Printed name and title

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 2 of 7 Page|D #: 2

l.

AFFIDA IT

Your Affiant, Special Agent William Birkofer, is employed by the Department of
Homeland Security (DHS), Homeland Security Investigations (HSI) and has been
so employed for approximately eight (8) years. Prior to that, I was employed as a
U.S. Postal lnspector for the U.S. Postal lnspection Service for approximately
eight (8) years and as a Special Agent for the U. S. Customs Service Offlce of
lnvestigations for approximately thirteen (13) years. I have attended numerous
classes at the Federal Law Enforcement Training Center, to include the Criminal
Investigator School, the U.S. Customs Service Basic Enforcement School, U.S.
Postal Inspection Service Basic Academy and DHS ICE Special Agent Training

School.

Your Affiant is a sworn Federal agent empowered under the laws of the United
States to investigate violations of federal firearm laws pertaining to the Gun
Control Act of 1968, the Controlled Substances Act of 1970 and have focused
attention on the detection and apprehension of individuals violating both federal
and state laws, including 18 United States Code Section 922 and 21 United States

Code 841.

Your Affiant regularly conducts joint firearm/controlled substance related
investigations with Special Agents of the Bureau of Alcohol, Tobacco and
Firearms (ATF), the Drug Enforcement Administration (DEA) and various state

and local law enforcement investigators and has experience conducting

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 3 of 7 Page|D #: 3

interviews, making arrest, executing search warrants which have resulted in the

seizure of firearms/controlled substances

4. Your Affiant is conducting an investigation regarding Ryan Lavorise THGMAS
(B/M, DOB X)UXX/l974) (“THOMAS”). There is probable cause to believe
THOMAS has violated Title 18, United State Code, Section 922 (g)(l)(felon in
possession of a firearm). This Affidavit is submitted in support of a criminal

complaint and arrest warrant for Ryan Lavorise THOMAS.

5. Probable cause is based on information set forth in the following paragraphs,
which is either known personally to me or has been related to me by law
enforcement officers or other court documents Since this affidavit is being
submitted for the limited purpose of securing an arrest warrant, l have not

included each and every fact known to me concerning this investigation

6. On February 5, 2018, an investigation was conducted by the Homeland Security
lnvestigations (HSI) Hotel/Motel Interdiction Task Force regarding a complaint
of narcotics activity at the Wood Springs Suites, Room 106 located at 9515

Pendleton Pike, Lawrence, Indiana.

7. Task Force Officers (TFOS) were able to determine through investigation that the

room was registered to 'Trenia J. Woods.

8. TFOs and officers with the Indiana State Police approached Roorn 106, and TFO

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 4 of 7 Page|D #: 4

Matt Wilson knocked on the door. TFOs and officers were greeted by a female
subject who opened the door. Sitting on the hotel room bed was a female later
identified as Trenia Woods. Ms. Woods consented to the entry of the TFOs and

officers

TFOS and officers immediately observed in plain view sitting on the kitchen table

a plastic bag containing a green plant material known to them through their

, training and experience as marijuana They also observed several hand rolled

10.

ll.

cigarettes, containing plant material, also on the table.

Ms. Woods stated the room was rented in her name, and was also being occupied
by her boyfriend, Ryan THOMAS. TFO Wilson then read Ms. Woods her
Mirana'a rights Ms. Woods stated she understood. TFO Wilson also presented
an Indiana State Police consent to search form. Ms. Woods read the form, stated
she understood, and signed the form signifying her consent for officers to search
the room for narcotics Ms. Woods was asked if there were any weapons in the

room. Ms Woods hesitated and stated no.

TFOs and officers then searched the room. TFO Wilson located two digital scales
in the closet area of the hotel room. TFO David Salley found in a drawer a black
Kel Tec .3 80 caliber handgun (serial number HSS92), that contained nine .380

caliber bullets

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 5 of 7 Page|D #: 5

l2.

13.

l4.

TFO Wilson asked Ms. Woods who the gun belonged to. Ms. Woods stated that it
had to be her boyfriend, THOMAS. Ms. Woods stated the marijuana also
belonged to THOMAS. Ms. Woods stated that THOMAS had slept all day and

had left for the evening on foot.

At approximately 10:45 PM, THOMAS returned to the room. TFO Wilson
confirmed THOMAS’s identity from a Kentucky identification card. Det. Raney
then conducted a pat down for officer safety. While conducting the pat down,
THOMAS stated he had some methamphetamine in this pocket in a cigarette
container. Det. Raney then removed out of Mr. Thomas' left jacket pocket a
cigarette container containing a plastic bag that contained a crystal rock substance
consistent in appearance to methamphetamine TFO Wilson then Mirandizea’
THOMAS. THOMAS stated he understood his rights, and wished to speak with
TFO Wilson. THOMAS stated that everything was his TH()MAS also stated
that he was a junkie, liked to get high on marijuana, and used methamphetamine
to speed himself back-up. THOMAS stated the marijuana on the table was his,
along with scales THOMAS also said that handgun was his, and that he brought

it to the room after he had found it outside when he moved to the hotel in August.

TFO Freeman then conducted a criminal history check on THOMAS and
determined that he was a convicted felon. According to records from the Clerk of
Courts in Erie County Pennsylvania, on May 4, 1995, Mr. Thomas received a

felony conviction for possession of cocaine base and received a sentence of

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 6 of 7 Page|D #: 6

between eighteen (18) months and four (4) years incarceration
15. TFO Freeman arrested THOMAS f`or possession of a firearm by a convicted

felon, possession of methamphetamine, and possession of marijuana

16. TFO Freeman then conducted a brief audio taped interview of THOMAS. ln the
interview, THOMAS verified he had been Mirana'ized and understood his rights
THOMAS stated that he had been staying in Room 106 since August. THOMAS
stated that he understood he was a convicted felon, and should not be in
possession of a handgun. He reiterated the same information that he had

provided earlier, including that the handgun and the drugs were his

17. The suspected controlled substances found in the room field tested positive for

methamphetamine and marij uana.

Case 1:18-mj-00258-DI\/|L Document 1 Filed 03/19/18 Page 7 of 7 Page|D #: 7

18. ATF Special Agent Eric Jensen confirmed that the Kel Tec .380 caliber handgun

(serial number HSS92), was not manufactured in the State of Indiana.

41 %W¢_

Wifliam Birkofer, Sp'ecial Agent
Department of Homeland Security

Sworn and subscribed to before me this ff rdvay of March, 2018.

M/Y¢%/L

Debra McVicker Lynch, Magistrate Judge
United States District Court
Southern District of Indiana

